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                                UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF NEW YORK


        In re: CUTLER, JESSICA L.                                     §   Case No. 07-31459
                                                                      §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

           LEE E. WOODARD, chapter 7 trustee, submits this Final Account,
 Certification that the Estate has been Fully Administered and Application to be Discharged.

          1) All funds on hand have been distributed in accordance with the Trustee's Final Report
 and, if applicable, any order of the Court modifying the Final Report. The case is fully
 administered and all assets and funds which have come under the trustee's control in this case
 have been properly accounted for as provided by law. The trustee hereby requests to be
 discharged from further duties as a trustee.

         2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
 discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $3,338.00                            Assets Exempt: $2,838.00
 (without deducting any secured claims)
 Total Distribution to Claimants: $79,373.21           Claims Discharged
                                                       Without Payment: $20,139,150.91

 Total Expenses of Administration: $47,538.59


          3) Total gross receipts of $ 126,911.80 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00     (see Exhibit 2 ), yielded net receipts of $126,911.80
 from the liquidation of the property of the estate, which was distributed as follows:




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                                         CLAIMS             CLAIMS             CLAIMS             CLAIMS
                                       SCHEDULED           ASSERTED           ALLOWED              PAID


  SECURED CLAIMS
  (from Exhibit 3)                             $0.00              $0.00              $0.00             $0.00
  PRIORITY CLAIMS:
     CHAPTER 7 ADMIN. FEES
     AND CHARGES
     (from Exhibit 4 )                          0.00          47,538.59         47,538.59          47,538.59

    PRIOR CHAPTER
    ADMIN. FFES AND
    CHARGES (fromExhibit 5)                     0.00               0.00               0.00              0.00
    PRIORITY UNSECURED
    CLAIMS (fromExhibit 6 )                     0.00         218,232.10        107,366.49          79,373.21
  GENERAL UNSECURED
  CLAIMS (fromExhibit 7)                   98,472.00      20,172,353.80      20,133,596.28              0.00
                                          $98,472.00     $20,438,124.49    $20,288,501.36        $126,911.80
  TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on May 30, 2007.
  The case was pending for 56 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 01/23/2012                  By: /s/LEE E. WOODARD
                                                   Trustee


   STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                EXHIBITS TO
                                                              FINAL ACCOUNT



EXHIBIT 1            GROSS RECEIPTS

                                                                                         UNIFORM                             $ AMOUNT
              DESCRIPTION
                                                                                        TRAN. CODE 1                         RECEIVED
     TELEVISION/BOOK RIGHTS                                                             1123-000                              7,437.50

     HBO PURCHASE OF FILM RIGHTS                                                        1223-000                         106,250.00

     HBO CONSULTING FEE & PRODUCTION COMM. PAYMENT                                      1223-000                              7,423.95

     NYS DEPT. OF TAXATION & FINANCE - REFUND                                           1290-000                              5,358.04

     Interest Income                                                                    1270-000                                442.31


    TOTAL GROSS RECEIPTS                                                                                                 $126,911.80

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2            FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                         UNIFORM                             $ AMOUNT
        PAYEE                                     DESCRIPTION
                                                                                        TRAN. CODE                              PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                         $0.00
    PARTIES

EXHIBIT 3            SECURED CLAIMS


                                                     UNIFORM          CLAIMS
       CLAIM                                                         SCHEDULED               CLAIMS               CLAIMS          CLAIMS
        NO.               CLAIMANT                    TRAN.           (from Form            ASSERTED             ALLOWED           PAID
                                                      CODE                6D)
                                                                  None


    TOTAL SECURED CLAIMS                                                        $0.00               $0.00            $0.00               $0.00




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EXHIBIT 4        CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                             CLAIMS          CLAIMS            CLAIMS      CLAIMS
                                         TRAN.
                                                     SCHEDULED       ASSERTED          ALLOWED       PAID
                                         CODE
 LEE E. WOODARD                         2100-000          N/A              9,595.48      9,595.48     9,595.48

 LEE E. WOODARD                         2200-000          N/A                  95.21        95.21          95.21

 HARRIS BEACH PLLC                      3110-000          N/A              8,840.00      8,840.00     8,840.00

 DAVID T. HAGGERTY, C.P.A.              3410-000          N/A                600.00        600.00       600.00

 LEE E. WOODARD, TRUSTEE                2300-000          N/A                   6.39         6.39           6.39

 LEE E. WOODARD, TRUSTEE                2300-000          N/A                  90.00        90.00          90.00

 LEE E. WOODARD, TRUSTEE                2300-000          N/A                  82.79        82.79          82.79

 NEW YORK STATE INCOME TAX              2990-000          N/A              5,351.00      5,351.00     5,351.00

 U.S. TREASURY                          2990-000          N/A            17,103.00      17,103.00    17,103.00

 NEW YORK STATE INCOME TAX              2990-000          N/A              5,351.00      5,351.00     5,351.00

 The Bank of New York Mellon            2600-000          N/A                193.75        193.75       193.75

 The Bank of New York Mellon            2600-000          N/A                229.97        229.97       229.97

 TOTAL CHAPTER 7 ADMIN. FEES                              N/A            47,538.59      47,538.59    47,538.59
 AND CHARGES


EXHIBIT 5        PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                             CLAIMS          CLAIMS            CLAIMS      CLAIMS
                                         TRAN.
                                                     SCHEDULED       ASSERTED          ALLOWED       PAID
                                         CODE
                                                   None

 TOTAL PRIOR CHAPTER ADMIN.                               N/A                   0.00         0.00           0.00
 FEES AND CHARGES


EXHIBIT 6        PRIORITY UNSECURED CLAIMS


                                        UNIFORM       CLAIMS          CLAIMS
   CLAIM                                             SCHEDULED       ASSERTED           CLAIMS      CLAIMS
    NO.              CLAIMANT            TRAN.        (from Form    (from Proofs of    ALLOWED       PAID
                                         CODE             6E)            Claim)
       1P   NYS DEPT OF TAX AND FINANCE 5800-000          N/A            10,727.20           0.00           0.00

       8P   Internal Revenue Service    5800-000          N/A            98,436.88           0.00           0.00

       8P-2 Internal Revenue Service    5800-000          unknown        98,436.88      98,436.88    72,771.79

       9    NYS DEPT OF TAX AND FINANCE 5800-000          unknown          8,929.61      8,929.61     6,601.42

      10    NYS Dept. of Taxation and   5800-000          N/A              1,701.53          0.00           0.00
            Finance

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 TOTAL PRIORITY UNSECURED                                     0.00        218,232.10       107,366.49       79,373.21
 CLAIMS


EXHIBIT 7     GENERAL UNSECURED CLAIMS


                                         UNIFORM     CLAIMS             CLAIMS
   CLAIM                                            SCHEDULED          ASSERTED           CLAIMS           CLAIMS
    NO.            CLAIMANT               TRAN.     (from Form        (from Proofs of    ALLOWED            PAID
                                          CODE          6F)                Claim)
       1U   NYS DEPT OF TAX AND FINANCE 7100-000       N/A                   3,576.04            0.00             0.00

       2    BLDG MGMT Co, Inc            7100-000      10,500.00           10,500.00        10,500.00             0.00

       3    Corcoran, Berliner & Rowe    7100-000      55,000.00           54,271.19        54,271.19             0.00

       4    John Umana                   7100-000       8,000.00             7,429.10        7,429.10             0.00

       5    ECMC                         7100-000      20,472.00           21,610.46        21,610.46             0.00

       6    American Express Centurion   7100-000       3,000.00             1,698.05        1,698.05             0.00
            Bank
       7    Robert Steinbuch             7100-000      unknown        20,000,000.00     20,000,000.00             0.00

       8U   Internal Revenue Service     7100-000      N/A                 34,670.48             0.00             0.00

       8U-2 Internal Revenue Service     7100-000      N/A                 34,670.48        34,670.48             0.00

       9U   NYS DEPT OF TAX AND FINANCE 7100-000       N/A                   3,417.00        3,417.00             0.00

     10-U   NYS Dept. of Taxation and    7100-000      N/A                     511.00            0.00             0.00
            Finance
 NOTFILED   Crouse Hospital              7100-000            800.00         N/A                 N/A               0.00

 NOTFILED   Sallie Mae Servicing         7100-000      unknown              N/A                 N/A               0.00

 NOTFILED   Time Warner Cable            7100-000            700.00         N/A                 N/A               0.00

 NOTFILED   SUNY Upstate Medical         7100-000      unknown              N/A                 N/A               0.00
            University Fiscal Services
 TOTAL GENERAL UNSECURED                               98,472.00      20,172,353.80     20,133,596.28             0.00
 CLAIMS




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                                                                                  Form 1                                                                                   Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 07-31459                                                                     Trustee:        (520169)     LEE E. WOODARD
Case Name:         CUTLER, JESSICA L.                                                     Filed (f) or Converted (c): 05/30/07 (f)
                                                                                          §341(a) Meeting Date:        07/06/07
Period Ending: 01/23/12                                                                   Claims Bar Date:             02/19/08

                                1                                         2                          3                       4                    5                    6

                      Asset Description                             Petition/               Estimated Net Value          Property            Sale/Funds           Asset Fully
           (Scheduled And Unscheduled (u) Property)               Unscheduled          (Value Determined By Trustee,    Abandoned            Received by       Administered (FA)/
                                                                     Values               Less Liens, Exemptions,       OA=§554(a)            the Estate        Gross Value of
Ref. #                                                                                        and Other Costs)          DA=§554(c)                             Remaining Assets

 1         CASH                                                               100.00                        0.00           DA                           0.00                     FA

 2         CITIBANK CHECKING/SAVINGS                                      1,038.00                          0.00           DA                           0.00                     FA

 3         SECURITY DEPOSIT WITH LANDLORD                                     400.00                        0.00           DA                           0.00                     FA

 4         HOUSEHOLD GOODS & FURNISHINGS &                                    500.00                        0.00           DA                           0.00                     FA
           COMPUTER

 5         WEARING APPAREL                                                    800.00                        0.00           DA                           0.00                     FA

 6         FUR JACKET                                                          50.00                        0.00           DA                           0.00                     FA

 7         JEWELRY                                                            300.00                        0.00           DA                           0.00                     FA

 8         DIGITAL CAMERA                                                     150.00                        0.00           DA                           0.00                     FA

 9         TELEVISION/BOOK RIGHTS                                         Unknown                        7,437.50                                  7,437.50                      FA

10         DOG                                                            Unknown                        Unknown           DA                           0.00                     FA

11         HBO PURCHASE OF FILM RIGHTS (u)                            106,250.00                      106,250.00                                 106,250.00                      FA

12         HBO CONSULTING FEE & PRODUCTION COMM.                          7,423.95                       7,423.95                                  7,423.95                      FA
           PAYMENT (u)

13         NYS DEPT. OF TAXATION & FINANCE - REFUND                       5,358.04                       5,358.04                                  5,358.04                      FA
           (u)

 Int       INTEREST (u)                                                   Unknown                            N/A                                      442.31                     FA

 14       Assets        Totals (Excluding unknown values)            $122,369.99                     $126,469.49                               $126,911.80                    $0.00



       Major Activities Affecting Case Closing:

       Initial Projected Date Of Final Report (TFR):    August 31, 2011                     Current Projected Date Of Final Report (TFR):       September 6, 2011 (Actual)




                                                                                                                                            Printed: 01/23/2012 09:54 AM     V.12.57
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                                                                                          Form 2                                                                                         Page: 1

                                                        Cash Receipts And Disbursements Record
Case Number:           07-31459                                                                             Trustee:            LEE E. WOODARD (520169)
Case Name:             CUTLER, JESSICA L.                                                                   Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                            Account:            ***-*****92-19 - Time Deposit Account
Taxpayer ID #:         **-***1637                                                                           Blanket Bond:       $15,207,314.00 (per case limit)
Period Ending: 01/23/12                                                                                     Separate Bond: N/A

    1            2                             3                                            4                                               5                     6                  7

 Trans.     {Ref #} /                                                                                                                   Receipts          Disbursements         Time Deposit
  Date      Check #               Paid To / Received From                   Description of Transaction                 T-Code              $                    $              Account Balance
10/14/08                     FUNDING ACCOUNT: ********9265          TRANSFER TO CERTIFICATE OF DEPOSIT                 9999-000            113,000.00                                113,000.00
11/13/08         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.5000%                        1270-000                   46.45                              113,046.45
12/15/08         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.3000%                        1270-000                   29.73                              113,076.18
01/14/09         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.3000%                        1270-000                   27.89                              113,104.07
02/13/09         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   13.94                              113,118.01
03/16/09         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   14.42                              113,132.43
04/15/09         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   13.94                              113,146.37
05/15/09         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   13.96                              113,160.33
06/15/09         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   14.41                              113,174.74
07/15/09         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   13.96                              113,188.70
08/14/09         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   13.95                              113,202.65
09/14/09         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   14.42                              113,217.07
10/14/09         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   13.96                              113,231.03
11/13/09         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   13.96                              113,244.99
12/14/09         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   14.43                              113,259.42
01/13/10         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   13.97                              113,273.39
01/14/10                     From Account #********9265             Adjust Principal via CD Rollover                   9999-000              7,500.00                                120,773.39
02/12/10         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   14.86                              120,788.25
03/15/10         Int         JPMORGAN CHASE BANK, N.A.              Interest posting at 0.1500%                        1270-000                   15.39                              120,803.64
03/16/10                     Transfer out to account ********9266   Transfer out to account ********9266               9999-000           -120,803.64                                       0.00

                                                                                         ACCOUNT TOTALS                                            0.00                 0.00               $0.00
                                                                                                  Less: Bank Transfers                          -303.64                 0.00
                                                                                         Subtotal                                                303.64                 0.00
                                                                                                  Less: Payments to Debtors                                             0.00
                                                                                         NET Receipts / Disbursements                           $303.64                $0.00




{} Asset reference(s)                                                                                                                                 Printed: 01/23/2012 09:54 AM        V.12.57
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                                                       Cash Receipts And Disbursements Record
Case Number:           07-31459                                                                          Trustee:            LEE E. WOODARD (520169)
Case Name:             CUTLER, JESSICA L.                                                                Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                         Account:            ***-*****92-65 - Money Market Account
Taxpayer ID #:         **-***1637                                                                        Blanket Bond:       $15,207,314.00 (per case limit)
Period Ending: 01/23/12                                                                                  Separate Bond: N/A

    1            2                            3                                           4                                              5                     6                  7

 Trans.     {Ref #} /                                                                                                                Receipts            Disbursements       Money Market
  Date      Check #               Paid To / Received From                   Description of Transaction              T-Code              $                      $            Account Balance
11/16/07       {9}           CARLISLE & COMPANY                    TELEVISION & BOOK RIGHTS                         1123-000              7,437.50                                    7,437.50
                                                                   COMMISSIONS; CITIBANK, NA.
11/30/07         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.6000%                      1270-000                  1.35                                    7,438.85
12/31/07         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.6000%                      1270-000                  3.78                                    7,442.63
01/31/08         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.3000%                      1270-000                  3.40                                    7,446.03
02/29/08         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.2500%                      1270-000                  1.52                                    7,447.55
03/31/08         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.1700%                      1270-000                  1.38                                    7,448.93
04/30/08         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.1700%                      1270-000                  1.03                                    7,449.96
05/30/08         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.1500%                      1270-000                  0.93                                    7,450.89
06/30/08         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.1500%                      1270-000                  0.94                                    7,451.83
07/31/08         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.1500%                      1270-000                  0.94                                    7,452.77
08/29/08         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.1500%                      1270-000                  0.88                                    7,453.65
09/30/08         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.1500%                      1270-000                  0.97                                    7,454.62
10/08/08       {11}          CARLISLE & COMPANY, LLC               HBO PURCHASE OF FILM RIGHTS;                     1223-000           106,250.00                                 113,704.62
                                                                   CITIBANK, N.A.
10/14/08                     ACCOUNT FUNDED: ********9219          TRANSFER TO CERTIFICATE OF DEPOSIT               9999-000                                  113,000.00               704.62
10/31/08         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.1200%                      1270-000                  1.80                                     706.42
11/12/08      1001           LEE E. WOODARD, TRUSTEE               BOND PREMIUM PAYMENT ON LEDGER                   2300-000                         !              6.39               700.03
                                                                   BALANCE AS OF 09/30/2008 FOR CASE
                                                                   #07-31459
                                                                   Voided on 11/12/08
11/12/08      1001           LEE E. WOODARD, TRUSTEE               BOND PREMIUM PAYMENT ON LEDGER                   2300-000                         !              -6.39              706.42
                                                                   BALANCE AS OF 09/30/2008 FOR CASE
                                                                   #07-31459
                                                                   Voided: check issued on 11/12/08
11/12/08      1002           LEE E. WOODARD, TRUSTEE               BOND PREMIUM PAYMENT ON LEDGER                   2300-000                                        6.39               700.03
                                                                   BALANCE AS OF 09/30/2008 FOR CASE
                                                                   #07-31459
11/17/08       {12}          CARLISLE & COMPANY                    CONSULTING FEE & PRODUCTION                      1223-000              2,718.30                                    3,418.33
                                                                   COMMENCEMENT PAYMENT; CITIBANK,
                                                                   N.A.
11/28/08         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.1000%                      1270-000                  0.12                                    3,418.45
12/01/08       {12}          CARLISLE & COMPANY                    FILM PRODUCTION COMMENCEMENT                     1223-000              1,568.55                                    4,987.00
                                                                   COMMISSION; CITIBANK, N.A.
12/31/08         Int         JPMORGAN CHASE BANK, N.A.             Interest posting at 0.0500%                      1270-000                  0.33                                    4,987.33
01/13/09       {12}          CARLISLE & COMPANY                    COMPLETION OF PRINCIPAL                          1223-000              1,568.55                                    6,555.88
                                                                   PHOTOGRAPHY EARNINGS; WEEK ENDING
                                                                   11/15/08; CITIBANK, N.A.


                                                                                                         Subtotals :                  $119,562.27            $113,006.39
{} Asset reference(s)                               !-Not printed or not transmitted                                                              Printed: 01/23/2012 09:54 AM         V.12.57
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                                                        Cash Receipts And Disbursements Record
Case Number:           07-31459                                                                        Trustee:            LEE E. WOODARD (520169)
Case Name:             CUTLER, JESSICA L.                                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                       Account:            ***-*****92-65 - Money Market Account
Taxpayer ID #:         **-***1637                                                                      Blanket Bond:       $15,207,314.00 (per case limit)
Period Ending: 01/23/12                                                                                Separate Bond: N/A

    1            2                            3                                        4                                               5                     6                    7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements           Money Market
  Date      Check #               Paid To / Received From              Description of Transaction                 T-Code              $                    $                Account Balance
01/13/09       {12}          CARLISLE & COMPANY                PRODUCING FEE EARNINGS; WEEK                       1223-000              1,568.55                                      8,124.43
                                                               ENDING 12/20/08; CITIBANK, N.A.
01/30/09         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.27                                     8,124.70
02/27/09         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.30                                     8,125.00
03/31/09         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.35                                     8,125.35
04/30/09         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.33                                     8,125.68
05/29/09         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.32                                     8,126.00
06/30/09         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.35                                     8,126.35
07/31/09         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.34                                     8,126.69
08/31/09         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.34                                     8,127.03
09/30/09         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.33                                     8,127.36
10/30/09         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.33                                     8,127.69
11/03/09      1003           LEE E. WOODARD, TRUSTEE           BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                         90.00              8,037.69
                                                               BALANCE AS OF 09/30/2009 FOR CASE
                                                               #07-31459, Trustee bond premium; Bond
                                                               #016027938; 11/1/09 to 11/1/2010
11/30/09         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.33                                     8,038.02
12/31/09         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.33                                     8,038.35
01/14/10                     To Account #********9219          Adjust Principal via CD Rollover                   9999-000                                       7,500.00              538.35
01/29/10         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.15                                      538.50
02/26/10         Int         JPMORGAN CHASE BANK, N.A.         Interest posting at 0.0500%                        1270-000                   0.02                                      538.52
03/16/10         Int         JPMORGAN CHASE BANK, N.A.         Current Interest Rate is 0.0500%                   1270-000                   0.01                                      538.53
03/16/10                     Wire out to BNYM account          Wire out to BNYM account 9200******9265            9999-000                 -538.53                                       0.00
                             9200******9265

                                                                                    ACCOUNT TOTALS                                   120,596.39           120,596.39                    $0.00
                                                                                             Less: Bank Transfers                          -538.53        120,500.00
                                                                                    Subtotal                                         121,134.92                    96.39
                                                                                             Less: Payments to Debtors                                              0.00
                                                                                    NET Receipts / Disbursements                    $121,134.92                   $96.39




{} Asset reference(s)                                                                                                                            Printed: 01/23/2012 09:54 AM          V.12.57
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                                                      Cash Receipts And Disbursements Record
Case Number:         07-31459                                                                        Trustee:            LEE E. WOODARD (520169)
Case Name:           CUTLER, JESSICA L.                                                              Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                     Account:            ***-*****92-66 - Checking Account
Taxpayer ID #:       **-***1637                                                                      Blanket Bond:       $15,207,314.00 (per case limit)
Period Ending: 01/23/12                                                                              Separate Bond: N/A

    1            2                          3                                       4                                                5                     6                  7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements             Checking
  Date      Check #             Paid To / Received From              Description of Transaction                 T-Code              $                  $                Account Balance
03/16/10                   Transfer in from account          Transfer in from account ********9219              9999-000            120,803.64                                120,803.64
                           ********9219
03/16/10                   Wire out to BNYM account          Wire out to BNYM account 9200******9219            9999-000           -120,803.64                                       0.00
                           9200******9219

                                                                                  ACCOUNT TOTALS                                          0.00                   0.00               $0.00
                                                                                          Less: Bank Transfers                            0.00                   0.00
                                                                                  Subtotal                                                0.00                   0.00
                                                                                          Less: Payments to Debtors                                              0.00
                                                                                  NET Receipts / Disbursements                           $0.00                  $0.00




{} Asset reference(s)                                                                                                                         Printed: 01/23/2012 09:54 AM         V.12.57
           Case 07-31459-5-mcr                              Doc 43      Filed 02/06/12 Entered 02/06/12 16:20:57                                                   Desc Main
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                                                         Cash Receipts And Disbursements Record
Case Number:           07-31459                                                                          Trustee:            LEE E. WOODARD (520169)
Case Name:             CUTLER, JESSICA L.                                                                Bank Name:          The Bank of New York Mellon
                                                                                                         Account:            9200-******92-19 - Trustee Investment Acct
Taxpayer ID #:         **-***1637                                                                        Blanket Bond:       $15,207,314.00 (per case limit)
Period Ending: 01/23/12                                                                                  Separate Bond: N/A

    1            2                            3                                           4                                              5                     6                  7

 Trans.     {Ref #} /                                                                                                                Receipts         Disbursements          Time Deposit
  Date      Check #               Paid To / Received From                Description of Transaction                 T-Code              $                   $               Account Balance
03/16/10                     Wire in from JPMorgan Chase Bank,   Wire in from JPMorgan Chase Bank, N.A.             9999-000            120,803.64                                120,803.64
                             N.A. account ********9266           account ********9266
03/31/10         Int         The Bank of New York Mellon         Interest posting at 0.1500%                        1270-000                   7.94                               120,811.58
04/30/10         Int         The Bank of New York Mellon         Interest posting at 0.1500%                        1270-000                  14.89                               120,826.47
05/28/10         Int         The Bank of New York Mellon         Interest posting at 0.1500%                        1270-000                  15.40                               120,841.87
06/30/10         Int         The Bank of New York Mellon         Interest posting at 0.1500%                        1270-000                  14.89                               120,856.76
07/30/10         Int         The Bank of New York Mellon         Interest posting at 0.1500%                        1270-000                  15.40                               120,872.16
08/31/10         Int         The Bank of New York Mellon         Interest posting at 0.1500%                        1270-000                  15.40                               120,887.56
09/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0300%                        1270-000                   2.97                               120,890.53
10/29/10         Int         The Bank of New York Mellon         Interest posting at 0.0300%                        1270-000                   3.08                               120,893.61
11/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0300%                        1270-000                   2.98                               120,896.59
12/31/10         Int         The Bank of New York Mellon         Interest posting at 0.0300%                        1270-000                   3.08                               120,899.67
01/03/11         Int         The Bank of New York Mellon         Current Interest Rate is 0.0000%                   1270-000                   0.19                               120,899.86
01/03/11                     To Account #9200******9265          Close TIA via TIA Rollover                         9999-000                               120,899.86                    0.00

                                                                                        ACCOUNT TOTALS                                  120,899.86         120,899.86                   $0.00
                                                                                               Less: Bank Transfers                     120,803.64         120,899.86
                                                                                        Subtotal                                              96.22                  0.00
                                                                                               Less: Payments to Debtors                                             0.00
                                                                                        NET Receipts / Disbursements                         $96.22                 $0.00




{} Asset reference(s)                                                                                                                             Printed: 01/23/2012 09:54 AM         V.12.57
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                                                         Cash Receipts And Disbursements Record
Case Number:           07-31459                                                                         Trustee:            LEE E. WOODARD (520169)
Case Name:             CUTLER, JESSICA L.                                                               Bank Name:          The Bank of New York Mellon
                                                                                                        Account:            9200-******92-65 - Money Market Account
Taxpayer ID #:         **-***1637                                                                       Blanket Bond:       $15,207,314.00 (per case limit)
Period Ending: 01/23/12                                                                                 Separate Bond: N/A

    1            2                            3                                          4                                              5                     6                    7

 Trans.     {Ref #} /                                                                                                               Receipts         Disbursements            Money Market
  Date      Check #               Paid To / Received From                  Description of Transaction              T-Code              $                   $                 Account Balance
03/16/10                     Wire in from JPMorgan Chase Bank,   Wire in from JPMorgan Chase Bank, N.A.            9999-000                 538.53                                      538.53
                             N.A. account ********9265           account ********9265
03/31/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                       1270-000                   0.01                                      538.54
04/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                       1270-000                   0.03                                      538.57
05/28/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                       1270-000                   0.03                                      538.60
06/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                       1270-000                   0.03                                      538.63
07/30/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                       1270-000                   0.03                                      538.66
08/31/10         Int         The Bank of New York Mellon         Interest posting at 0.0700%                       1270-000                   0.03                                      538.69
11/08/10     11004           LEE E. WOODARD, TRUSTEE             BOND PREMIUM PAYMENT ON LEDGER                    2300-000                                         82.79               455.90
                                                                 BALANCE AS OF 11/08/2010 FOR CASE
                                                                 #07-31459, Bond #016027938 - 11/1/10 to
                                                                 11/1/11
01/03/11                     From Account #9200******9219        Close TIA via TIA Rollover                        9999-000           120,899.86                                   121,355.76
01/31/11         Int         The Bank of New York Mellon         Interest posting at 0.0300%                       1270-000                   2.89                                 121,358.65
02/28/11         Int         The Bank of New York Mellon         Interest posting at 0.0300%                       1270-000                   2.79                                 121,361.44
03/31/11         Int         The Bank of New York Mellon         Interest posting at 0.0300%                       1270-000                   3.09                                 121,364.53
04/15/11     11005           NEW YORK STATE INCOME TAX           2010 IT-205; TAXPAYER ID#XX-XXXXXXX               2990-000                                       5,351.00         116,013.53
04/15/11     11006           U.S. TREASURY                       2010 FORM 1041; TAXPAYER ID#XX-XXXXXXX            2990-000                                   17,103.00             98,910.53
04/29/11         Int         The Bank of New York Mellon         Interest posting at 0.0300%                       1270-000                   2.85                                  98,913.38
05/31/11         Int         The Bank of New York Mellon         Interest posting at 0.0300%                       1270-000                   2.52                                  98,915.90
06/09/11       {13}          NEW YORK STATE DEPT. OF             REFUND OF MONIES PAID WITH                        1290-000              5,358.04                                  104,273.94
                             TAXATION & FINANCE                  FIDUCIARY TAX RETURN; JP MORGAN
                                                                 CHASE BANK
06/20/11     11007           NEW YORK STATE INCOME TAX           2010 IT-205/IT-201; TAXPAYER                      2990-000                                       5,351.00          98,922.94
                                                                 ID#XX-XXXXXXX
06/30/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                       1270-000                   0.84                                  98,923.78
07/29/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                       1270-000                   0.85                                  98,924.63
08/01/11                     The Bank of New York Mellon         Bank and Technology Services Fee                  2600-000                                        193.75           98,730.88
08/31/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                       1270-000                   0.83                                  98,731.71
08/31/11                     The Bank of New York Mellon         Bank and Technology Services Fee                  2600-000                                        229.97           98,501.74
09/30/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                       1270-000                   0.80                                  98,502.54
10/31/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                       1270-000                   0.83                                  98,503.37
11/21/11         Int         The Bank of New York Mellon         Current Interest Rate is 0.0100%                  1270-000                   0.53                                  98,503.90
11/21/11                     To Account #9200******9266          TRANSFER TO CHECKING ACCOUNT FOR                  9999-000                                   98,503.90                   0.00
                                                                 DISTRIBUTION




                                                                                                        Subtotals :                  $126,815.41          $126,815.41
{} Asset reference(s)                                                                                                                            Printed: 01/23/2012 09:54 AM           V.12.57
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                                                     Cash Receipts And Disbursements Record
Case Number:         07-31459                                                                    Trustee:            LEE E. WOODARD (520169)
Case Name:           CUTLER, JESSICA L.                                                          Bank Name:          The Bank of New York Mellon
                                                                                                 Account:            9200-******92-65 - Money Market Account
Taxpayer ID #:       **-***1637                                                                  Blanket Bond:       $15,207,314.00 (per case limit)
Period Ending: 01/23/12                                                                          Separate Bond: N/A

    1            2                          3                                     4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                        Receipts        Disbursements          Money Market
  Date      Check #             Paid To / Received From             Description of Transaction              T-Code              $                  $               Account Balance

                                                                                ACCOUNT TOTALS                                 126,815.41          126,815.41                  $0.00
                                                                                       Less: Bank Transfers                    121,438.39              98,503.90
                                                                                Subtotal                                          5,377.02             28,311.51
                                                                                       Less: Payments to Debtors                                            0.00
                                                                                NET Receipts / Disbursements                     $5,377.02         $28,311.51




{} Asset reference(s)                                                                                                                     Printed: 01/23/2012 09:54 AM        V.12.57
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                                                       Cash Receipts And Disbursements Record
Case Number:         07-31459                                                                           Trustee:            LEE E. WOODARD (520169)
Case Name:           CUTLER, JESSICA L.                                                                 Bank Name:          The Bank of New York Mellon
                                                                                                        Account:            9200-******92-66 - Checking Account
Taxpayer ID #:       **-***1637                                                                         Blanket Bond:       $15,207,314.00 (per case limit)
Period Ending: 01/23/12                                                                                 Separate Bond: N/A

    1            2                           3                                        4                                                 5                     6                    7

 Trans.     {Ref #} /                                                                                                               Receipts         Disbursements              Checking
  Date      Check #             Paid To / Received From                Description of Transaction                  T-Code              $                   $                 Account Balance
11/21/11                   From Account #9200******9265        TRANSFER TO CHECKING ACCOUNT FOR                    9999-000             98,503.90                                   98,503.90
                                                               DISTRIBUTION
12/05/11     10101         LEE E. WOODARD                      Dividend paid 100.00% on $95.21, Trustee            2200-000                                         95.21           98,408.69
                                                               Expenses; Reference:
12/05/11     10102         LEE E. WOODARD                      Dividend paid 100.00% on $9,595.48, Trustee         2100-000                                       9,595.48          88,813.21
                                                               Compensation; Reference:
12/05/11     10103         DAVID T. HAGGERTY, C.P.A.           Dividend paid 100.00% on $600.00, Accountant 3410-000                                               600.00           88,213.21
                                                               for Trustee Fees (Other Firm); Reference:
12/05/11     10104         HARRIS BEACH PLLC                   Dividend paid 100.00% on $8,840.00, Attorney        3110-000                                       8,840.00          79,373.21
                                                               for Trustee Fees (Trustee Firm); Reference:
12/05/11     10105         Internal Revenue Service            Dividend paid 73.92% on $98,436.88; Claim#          5800-000                                   72,771.79                6,601.42
                                                               8P-2; Filed: $98,436.88; Reference:
12/05/11     10106         NYS DEPT OF TAX AND FINANCE         Dividend paid 73.92% on $8,929.61; Claim# 9;        5800-000                                       6,601.42                0.00
                                                               Filed: $8,929.61; Reference:

                                                                                    ACCOUNT TOTALS                                      98,503.90             98,503.90                  $0.00
                                                                                              Less: Bank Transfers                      98,503.90                    0.00
                                                                                    Subtotal                                                  0.00            98,503.90
                                                                                              Less: Payments to Debtors                                              0.00
                                                                                    NET Receipts / Disbursements                             $0.00         $98,503.90

                                  Net Receipts :         126,911.80
                                                      ————————                                                                            Net              Net                      Account
                                    Net Estate :        $126,911.80                 TOTAL - ALL ACCOUNTS                                Receipts      Disbursements                 Balances

                                                                                    TIA # ***-*****92-19                                    303.64                   0.00                 0.00
                                                                                    MMA # ***-*****92-65                              121,134.92                    96.39                 0.00
                                                                                    Checking # ***-*****92-66                                 0.00                   0.00                 0.00
                                                                                    TIA # 9200-******92-19                                   96.22                   0.00                 0.00
                                                                                    MMA # 9200-******92-65                               5,377.02             28,311.51                   0.00
                                                                                    Checking # 9200-******92-66                               0.00            98,503.90                   0.00

                                                                                                                                     $126,911.80          $126,911.80                    $0.00




{} Asset reference(s)                                                                                                                            Printed: 01/23/2012 09:54 AM           V.12.57
